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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

Case number (if known)                                                      Chapter       7
                                                                                                                           0   Check if this an amended
                                                                                                                               filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Zyacorp Entertainment II, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  PO Box 16366
                                  Hooksett, NH 03106-6366
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Merrimack                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Zyacorp Entertainment II, LLC                                                                Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                       O   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       O   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       O   Railroad (as defined in 11 U.S.C. § 101(44))
                                       O   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       O   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       O   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ■   None of the above

                                       B. Check all that apply
                                       O Tax-exempt entity (as described in 26 U.S.C. §501)
                                       O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       O Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))
                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                    ■   Chapter 7

     A debtor who is a small           O   Chapter 9
     business debtor must check
     the first sub-box. A debtor as
                                       O   Chapter 11. Check all that apply:
     defined in § 1182(1) who                               0    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      small business debtor ) must                               procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                            0    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            O    A plan is being filed with this petition.
                                                            O    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            0    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                            O    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       O   Chapter 12

9.   Were prior bankruptcy             ■ No.
     cases filed by or against the
     debtor within the last 8          O Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 2
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Debtor    Zyacorp Entertainment II, LLC                                                                     Case number ( if known )
          Name

10. Are any bankruptcy cases               0 No
    pending or being filed by a
    business partner or an
                                           ■ Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                           Debtor      See Attachment                                                   Relationship
                                                      District                                  When                               Case number, if known


11. Why is the case filed in           Check all that apply:
     this district?
                                       ■        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       O        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or             ■   No
    have possession of any
    real property or personal          O Yes.        Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                             Why does the property need immediate attention? (Check all that apply.)
                                                     0 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard?
                                                     0 It needs to be physically secured or protected from the weather.
                                                     0 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                        livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     0 Other
                                                     Where is the property?
                                                                                       Number, Street, City, State & ZIP Code
                                                     Is the property insured?
                                                     0 No
                                                     0 Yes.      Insurance agency
                                                                 Contact name
                                                                 Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                 0 Funds will be available for distribution to unsecured creditors.
                                                 ■    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                0 1-49                                              0 1,000-5,000                                0 25,001-50,000
    creditors
                                       ■ 50-99                                             0 5001-10,000                                0 50,001-100,000
                                       0 100-199                                           ❑ 10,001-25,000                              ❑ More than100,000
                                       0 200-999
15. Estimated Assets                   ■ $0 - $50,000                                      0 $1,000,001 - $10 million                   0 $500,000,001 - $1 billion
                                       0 $50,001 - $100,000                                0 $10,000,001 - $50 million                  0 $1,000,000,001 - $10 billion
                                       0 $100,001 - $500,000                               0 $50,000,001 - $100 million                 0 $10,000,000,001 - $50 billion
                                       0 $500,001 - $1 million                             0 $100,000,001 - $500 million                0 More than $50 billion
16. Estimated liabilities              0 $0 - $50,000                                      ■ $1,000,001 - $10 million                   ❑ $500,000,001 - $1 billion
Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Zyacorp Entertainment II, LLC                                                 Case number ( if known )
         Name

                            0 $50,001 - $100,000                       0 $10,000,001 - $50 million                0 $1,000,000,001 - $10 billion
                            0 $100,001 - $500,000                      0 $50,000,001 - $100 million               0 $10,000,000,001 - $50 billion
                            0 $500,001 - $1 million                    0 $100,000,001 - $500 million              0 More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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Debtor    Zyacorp Entertainment II, LLC                                                                   Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       December 15, 2022
                                                    MM / DD / YYYY


                              X   /s/ Judith Labbe-Huard                                                         Judith Labbe-Huard
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   Authorized Representative




18. Signature of attorney     X   /s/ Morgan C. Nighan                                                             Date December 15, 2022
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Morgan C. Nighan
                                  Printed name

                                  Nixon Peabody LLP
                                  Firm name


                                  900 Elm Street
                                  Manchester, NH 03060
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (603) 628-4000                  Email address         mnighan@nixonpeabody.com

                                  BNH #07333
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
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Debtor     Zyacorp Entertainment II, LLC                                                      Case number ( if known )
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

Case number (if known)                                                    Chapter       7
                                                                                                                         0   Check if this an amended
                                                                                                                             filing




                                                        FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Zyacorp Entertainment I, LLC                                             Relationship to you                  Affiliate
District   New Hampshire                               When    12/15/22             Case number, if known
Debtor     Zyacorp Inc.                                                             Relationship to you                  Affiliate
District   New Hampshire                               When    12/15/22             Case number, if known




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                                          ZYACORP ENTERTAINMENT II, LLC
                                          Written Consent of the Voting Members


                    The undersigned, being the holder of all the Membership Interests of Zyacorp
            Entertainment II, LLC, a New Hampshire limited liability company (the “Company”), entitled to
            vote, hereby consents to the adoption as of October 1, 2022, of the following resolutions as and
            for the action of the Members of the Company, without meeting, and agree that this Consent
            shall be filed with the records of the actions of the Members and that such resolutions may be
            certified by any Manager or officer as being in all respects duly adopted:

            RESOLVED: That, in the judgment of the undersigned Member of the Company, it is desirable and
                      in the best interests of the Company, its creditors, and other parties in interest, that
                      the Company and the Company’s subsidiaries shall be, and hereby are, authorized,
                      empowered, and directed to file or cause to be filed a voluntary petition for relief
                      under the provisions of chapter 7 of title 11 of the United States Code, in the United
                      States Bankruptcy Court for the District of New Hampshire, or another court of
                      proper jurisdiction.

            FURTHER
            RESOLVED: That Judith P. Labbe-Huard be, and hereby is, authorized and empowered to
                      execute and deliver, in the name and on behalf of the Company, all petitions,
                      schedules, lists, and other motions, papers, or documents, and to take any and all
                      actions that she deems necessary, appropriate, or desirable to commence a
                      voluntary petition under Chapter 7 of Title 11 of the United States Code.

            FURTHER
            RESOLVED: That Ms. Labbe-Huard, be, and hereby is, authorized and empowered to execute
                      and deliver, in the name and on behalf of the Company, (a) such regulatory,
                      corporate governance, and administrative filings and other similar documents
                      such as but not limited to amendments or insurance documents as may be
                      necessary or desirable, in Ms. Labbe-Huard’s discretion, for the Company's
                      operations and its subsidiaries; and (b) legal notices or acknowledgments,
                      contracts, amendments or other agreements between the Company, its
                      subsidiaries, and their respective vendors or third party service providers in Ms.
                      Labbe-Huard’s discretion .


                                                             r—DocuSigned by:




                                                                 3BC8r rb4-5,11-en
                                                             Elaine M.S. Adam, as Trustee of the
                                                             Mark T. Adam Ownership Trust
                                                             dated April 14, 2009




            4853-6612-9715.1
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           Fill in this information to identify the case:

 Debtor name        Zyacorp Entertainment II, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

 Case number (if known)
                                                                                                                                  0   Check if this is an
                                                                                                                                      amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

     0     None.

       Identify the beginning and ending dates of the debtor s fiscal year,                   Sources of revenue                      Gross revenue
       which may be a calendar year                                                           Check all that apply                    (before deductions and
                                                                                                                                      exclusions)

       From the beginning of the fiscal year to filing date:                                  0   Operating a business                                      $0.00
       From 1/01/2022 to Filing Date
                                                                                              0   Other



       For prior year:                                                                         ■ Operating a business                             $77,410.00
       From 1/01/2021 to 12/31/2021
                                                                                              0   Other



       For year before that:                                                                   ■ Operating a business                          $1,015,573.00
       From 1/01/2020 to 12/31/2020
                                                                                              0   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     0     None.

                                                                                              Description of sources of revenue       Gross revenue from
                                                                                                                                      each source
                                                                                                                                      (before deductions and
                                                                                                                                      exclusions)

       For prior year:
       From 1/01/2021 to 12/31/2021                                                           PPP Forgiveness                                      $10,000.00


       For year before that:                                                                  NH GAP, PPP Forgiveness,
       From 1/01/2020 to 12/31/2020                                                           SBA Forgiveness                                    $573,725.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 1

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 Debtor       Zyacorp Entertainment II, LLC                                                             Case number (if known)




          None.

       Creditor's Name and Address                                        Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                              Check all that apply
       3.1.
               Judith Labbe-Huard                                         11/15/2022                         $2,500.00           Secured debt
               PO Box 16366                                                                                                      Unsecured loan repayments
               Hooksett, NH 03106-6366                                                                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Retainer


       3.2.
               Nixon Peabody LLP                                          10/11/2022                        $10,000.00           Secured debt
               900 Elm St                                                                                                        Unsecured loan repayments
               Manchester, NH 03101-2007                                                                                         Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Retainer


       3.3.
               Judith Labbe-Huard                                         10/07/2022                         $4,020.00           Secured debt
               PO Box 16366                                                                                                      Unsecured loan repayments
               Hooksett, NH 03106-6366                                                                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Retainer


       3.4.
               Judith Labbe-Huard                                         09/30/2022                         $4,000.00           Secured debt
               PO Box 16366                                                                                                      Unsecured loan repayments
               Hooksett, NH 03106-6366                                                                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Retainer



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
   adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
   Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                         Dates                  Total amount of value        Reasons for payment or transfer
       Relationship to debtor
       4.1.    Judith Labbe-Huard                                         09/30/22                          $10,520.00        Retainer and expense
               PO Box 16366                                               10/07/22                                            reimbursement
               Hooksett, NH 03106                                         11/15/22
               Officer

       4.2.    Judith Labbe-Huard                                         06/23/22                          $11,975.00        Services
               PO Box 16366
               Hooksett, NH 03106-6366
               Officer

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2

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 Debtor       Zyacorp Entertainment II, LLC                                                             Case number (if known)



      ■ None
       Creditor's name and address                           Describe of the Property                                         Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor s direction from an account of the debtor because the debtor owed a debt.

      ■ None
       Creditor's name and address                           Description of the action creditor took                          Date action was                  Amount
                                                                                                                              taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity within 1 year before filing this case.

     0     None.

               Case title                                     Nature of case              Court or agency's name and                 Status of case
               Case number                                                                address
       7.1.    2422 Lafayette Road                            Breach of                   New Hampshire Superior                     ■   Pending
               Associates, LLC v. Zyacorp                     Contract                    Court (Rockingham                          0   On appeal
               Entertainment II, LLC                                                      10 NH-125                                  0   Concluded
               218-2022-CV-00393                                                          Brentwood, NH 03833


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      ■ None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000

      ■ None
               Recipient's name and address                   Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      ■ None
       Description of the property lost and how              Amount of payments received for the loss                    Dates of loss                Value of property
       the loss occurred                                                                                                                                           lost
                                                             If you have received payments to cover the loss, for
                                                             example, from insurance, government compensation, or
                                                             tort liability, list the total received.

                                                             List unpaid claims on Official Form 106A/B (Schedule
                                                             A/B: Assets Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

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 Debtor        Zyacorp Entertainment II, LLC                                                            Case number (if known)



     0     None.

                 Who was paid or who received the               If not money, describe any property transferred               Dates               Total amount or
                 transfer?                                                                                                                                 value
                 Address
       11.1.     Nixon Peabody LLP
                 900 Elm Street
                 Manchester, NH 03060                                                                                         10/11/2022              $10,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Judith Labbe-Huard                                                                                           09/30/22
                 PO Box 16366                                                                                                 10/07/22
                 Hooksett, NH 03106-6366                                                                                      11/15/22                $10,500.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      ■ None.
       Name of trust or device                                  Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      ■ None.
                Who received transfer?                        Description of property transferred or                     Date transfer was        Total amount or
                Address                                       payments received or debts paid in exchange                made                              value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


     0     Does not apply

                 Address                                                                                                  Dates of occupancy
                                                                                                                          From-To
       14.1.     80 Palomino Ln Ste 204                                                                                   2006-2021
                 Bedford, NH 03110-6447

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4

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 Debtor      Zyacorp Entertainment II, LLC                                                              Case number (if known)




     ■      No. Go to Part 9.
     0      Yes. Fill in the information below.

                  Facility name and address                   Nature of the business operation, including type of services the           If debtor provides meals
                                                              debtor provides                                                            and housing, number of
                                                                                                                                         patients in debtor s care

 Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

     ■      No.
     0      Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

     ■      No. Go to Part 10.
     0      Yes. Does the debtor serve as plan administrator?


 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor s name, or for the debtor s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      ■ None
                  Financial Institution name and              Last 4 digits of           Type of account or           Date account was          Last balance before
                  Address                                     account number             instrument                   closed, sold,              closing or transfer
                                                                                                                      moved, or
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      ■ None
       Depository institution name and address                     Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
                                                                   Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.


     0     None

       Facility name and address                                   Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
       Northeast Record Retention                                  Judith Labbe-Huard,                    Books and Records                        0 No
       180 W River Rd                                              Elaine Adam                                                                     ■ Yes
       Hooksett, NH 03106-2627



 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5

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 Debtor      Zyacorp Entertainment II, LLC                                                              Case number (if known)



    leased or rented property.

    ■ None

 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ■      No.
     0      Yes. Provide details below.

       Case title                                                  Court or agency name and               Nature of the case                           Status of case
       Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

     ■      No.
     0      Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

24. Has the debtor notified any governmental unit of any release of hazardous material?

     ■      No.
     0      Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      ■ None
    Business name address                                   Describe the nature of the business               Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.

                                                                                                              Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor s books and records within 2 years before filing this case.
         0 None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26a.1.       Judith Labbe-Huard                                                                                                        2009-Present
                    PO Box 16366
                    Hooksett, NH 03106-6366


Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6

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 Debtor       Zyacorp Entertainment II, LLC                                                             Case number (if known)



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor s books of account and records or prepared a financial statement within 2
         years before filing this case.

          ■ None

    26c. List all firms or individuals who were in possession of the debtor s books of account and records when this case is filed.

          0   None

       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why
       26c.1.       Judith Labbe-Huard
                    PO Box 16366
                    Hooksett, NH 03106-6366

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

          0   None

       Name and address
       26d.1.       Blue Ridge Bank
                    17 Main St
                    Luray, VA 22835

27. Inventories
    Have any inventories of the debtor s property been taken within 2 years before filing this case?

     ■      No
     0      Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       Judith Labbe-Huard                           PO Box 16366                                          Vice President                         0
                                                    Hooksett, NH 03106-6366

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       James Hatem                                  900 Elm St Fl 14                                      Secretary                              0
                                                    Manchester, NH 03101-2007



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


     ■      No
     0      Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

     0      No
     ■      Yes. Identify below.

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7

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 Debtor      Zyacorp Entertainment II, LLC                                                              Case number (if known)



              Name and address of recipient                   Amount of money or description and value of                Dates             Reason for providing
                                                              property                                                                     the value
       30.1                                                                                                              06/23/2022
       .    Judith Labbe-Huard                                                                                           09/30/2022
              PO Box 16366                                                                                               10/07/2022
              Hooksett, NH 03106-6366                         22,495.00                                                  11/15/2022        Services

              Relationship to debtor
              Officer


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      ■     No
      0     Yes. Identify below.

    Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                              corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      ■     No
      0     Yes. Identify below.

    Name of the pension fund                                                                                  Employer Identification number of the pension
                                                                                                              fund

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
      correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        December 15, 2022

 /s/ Judith Labbe-Huard                                                Judith Labbe-Huard
 Signature of individual signing on behalf of the debtor               Printed name

 Position or relationship to debtor        Authorized Representative

Are additional pages to Statement ofFinancial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
■ No
0 Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8

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    Fill in this information to identify the case:

Debtor name       Zyacorp Entertainment II, LLC

United States Bankruptcy Court for the:      DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

Case number (if known)
                                                                                                                                 0    Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

      ■        Schedule A/B: Assets Real and Personal Property (Official Form 206A/B)

      ■        Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)

      ■        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

      ■        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

      ■        Schedule H: Codebtors (Official Form 206H)

      ■        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      0        Amended Schedule
      0        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
      0        Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on        December 15, 2022                 x /s/ Judith Labbe-Huard
                                                              Signature of individual signing on behalf of debtor

                                                              Judith Labbe-Huard
                                                              Printed name

                                                              Authorized Representative
                                                              Position or relationship to debtor
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            Fill in this information to identify the case:

 Debtor name          Zyacorp Entertainment II, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

 Case number (if known)
                                                                                                                                  0     Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      0 No. Go to Part 2.
      ■ Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                              $3,950.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)          Type of account                            Last 4 digits of account
                                                                                                             number

 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                      $3,950.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      0 No. Go to Part 3.
      ■ Yes Fill in the information below.

 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Judith Labbe-Huard                                                                                                               $2,450.00




            8.2.     Nixon Peabody LLP                                                                                                                $5,000.00




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                                  page 1
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 Debtor         Zyacorp Entertainment II, LLC                                                 Case number (If known)
                Name


 9.         Total of Part 2.                                                                                                    $7,450.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      ■ No. Go to Part 4.
      0 Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

      ■ No. Go to Part 5.
      0 Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      ■ No. Go to Part 6.
      0 Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      ■ No. Go to Part 7.
      0 Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      ■ No. Go to Part 8.
      0 Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      ■ No. Go to Part 9.
      0 Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

      ■ No. Go to Part 10.
      0 Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      ■ No. Go to Part 11.
      0 Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                           page 2
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            Case: 22-10627-BAH Doc #: 1 Filed: 12/15/22 Desc: Main Document                                         Page 19 of 37

 Debtor         Zyacorp Entertainment II, LLC                                              Case number (If known)
                Name



   0 No. Go to Part 12.
   ■ Yes Fill in the information below.
                                                                                                                        Current value of
                                                                                                                        debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           New Hampshire Net Operating Loss Carry Forward                                    Tax year 2014                              $0.00



           New Hampshire Net Operating Loss Carry Forward                                    Tax year 2017                              $0.00



           New Hampshire Net Operating Loss Carry Forward                                    Tax year 2018                              $0.00



           New Hampshire Net Operating Loss Carry Forward                                    Tax year 2019                              $0.00



           New Hampshire Net Operating Loss Carry Forward                                    Tax year 2020                              $0.00



           New Hampshire Net Operating Loss Carry Forward                                    Tax year 2021                              $0.00

             **Although New Hampshire Net Operating Losses exist, the Debtor will not be able to recognize the tax benefit due to an anticipation
             that there will be no future income to utilize those losses against. As such, the value attributed to the Net Operating Losses is $0**
 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                          $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           ■ No
           0 Yes




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                            page 3
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 Debtor           Zyacorp Entertainment II, LLC                                                                        Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                $3,950.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                     $7,450.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                  $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                            $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $11,400.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $11,400.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                        page 4
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           Fill in this information to identify the case:

 Debtor name          Zyacorp Entertainment II, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

 Case number (if known)
                                                                                                                                        0     Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       O No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       ■ Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    Blue Ridge Bank                               Describe debtor's property that is subject to a lien               $4,481,063.00                        $0.00
        Creditor's Name


        17 Main St
        Luray, VA 22835
        Creditor's mailing address                    Describe the lien
                                                      See Pledge and Security Agreement
                                                      Is the creditor an insider or related party?
                                                     ■ No
        Creditor's email address, if known           O Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                       O No
                                                     ■ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0061
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        ■ No                                          O Contingent
        O Yes. Specify each creditor,                 O Unliquidated
        including this creditor and its relative      O Disputed
        priority.




                                                                                                                          $4,481,063.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
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    Fill in this information to identify the case:

 Debtor name           Zyacorp Entertainment II, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

 Case number (if known)
                                                                                                                                                    0   Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          •     No. Go to Part 2.

          0 Yes. Go to line 2.


 Part 2:         List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1          Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                  $198,968.01
              2422 Lafayette Road Associates                                  O Contingent
              Department 2010                                                 O Unliquidated
              PO Box 986500                                                   0 Disputed
              Boston, MA 02108-6500
                                                                              Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                                 Is the claim subject to offset?   •   No   0   Yes


 3.2          Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                       $108.44
              AC JV, LLC                                                      O Contingent
                                                                              O Unliquidated
              PO Box 734426
              Chicago, IL 60601-4426
                                                                              O Disputed
                                                                              Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                                 Is the claim subject to offset?   •   No   El Yes

 3.3          Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                       $849.91
              Briarcliff Entertainment, LLC                                   O Contingent
                                                                              O Unliquidated
              PO Box 102287
              Pasadena, CA 91101-2287
                                                                              O Disputed
                                                                              Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                                 Is the claim subject to offset?   •   No   El Yes

 3.4          Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                     $2,096.00
              CDB Mechanical LLC                                              O Contingent
                                                                              O Unliquidated
              134 G1 Hall St                                                  O Disputed
              Concord, NH 03301
                                                                              Basis for the claim:
              Date(s) debt was incurred
              Last 4 digits of account number                                 Is the claim subject to offset?   •   No   0   Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 7
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 Debtor      Zyacorp Entertainment II, LLC                                                           Case number (if known)
             Name

 3.5      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $65,201.00
          Cinedigm                                                         O Contingent
                                                                           O Unliquidated
          PO Box 95000-3760
          Philadelphia, PA 19019-0001
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.6      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $1,620.00
          Cleaner than Ever, Inc.                                          O Contingent
                                                                           O Unliquidated
          PO Box 6693
          Scarborough, ME 04070-6693
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.7      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $656.89
          Coca-Cola Northern New England                                   O Contingent
                                                                           O Unliquidated
          PO Box 419784
          Boston, MA 02241-9784
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      5559                        Is the claim subject to offset?   ■ No ❑ Yes
 3.8      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $371,408.44
          Cole Credit Property Trust IV, Inc.                              O Contingent
          Vereit MT Sturbridge MA, LLC                                     O Unliquidated
          PO Box 841123
          Dallas, TX 75284-1123
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.9      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $285.74
          Comcast                                                          O Contingent
                                                                           O Unliquidated
          PO Box 70219
          Philadelphia, PA 19176-0219
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.10     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $294.80
          Consolidated Communications                                      O Contingent
                                                                           O Unliquidated
          PO Box 11021
          Lewiston, ME 04243-9472
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      7119                        Is the claim subject to offset?   ■ No ❑ Yes
 3.11     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $478.26
          Digital Cinema Distribution Coalition                            O Contingent
                                                                           O Unliquidated
          1840 Century Park E Ste 550
          Los Angeles, CA 90067-1763
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes



Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 7
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 Debtor      Zyacorp Entertainment II, LLC                                                           Case number (if known)
             Name

 3.12     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $40.00
          Duane Wyman                                                      O Contingent
                                                                           O Unliquidated
          20 Mark Rd
          Franklin, NH 03235-1469
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.13     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $7,384.09
          Eversource                                                       O Contingent
                                                                           O Unliquidated
          PO Box 330
          Manchester, NH 03105-0330
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      6057                        Is the claim subject to offset?   ■ No ❑ Yes
 3.14     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $2,300.00
          Francis White                                                    O Contingent
          dba White Plumbing & Heating                                     O Unliquidated
          35 R Jones Rd
          Spencer, MA 01562-2721
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.15     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $276,711.09
          Gift Card Liability                                              O Contingent
                                                                           O Unliquidated
          Date(s) debt was incurred                                        O Disputed
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?   ■ No ❑ Yes
 3.16     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $1,237.34
          H.T. Berry Company, Inc.                                         O Contingent
                                                                           O Unliquidated
          50 North St
          Canton, MA 02021-3339
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1039                        Is the claim subject to offset?   ■ No ❑ Yes
 3.17     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $5,294.82
          Harry Grodsky & Co. Inc.                                         O Contingent
                                                                           O Unliquidated
          33 Shaws Ln
          Springfield, MA 01104-3019
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1244                        Is the claim subject to offset?   ■ No ❑ Yes
 3.18     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $2,816.82
          Hollywood Software, Inc.                                         O Contingent
                                                                           O Unliquidated
          PO Box 740916
          Los Angeles, CA 90074-0916
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes




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 Debtor      Zyacorp Entertainment II, LLC                                                           Case number (if known)
             Name

 3.19     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $741.21
          ICEE Company                                                     O Contingent
                                                                           O Unliquidated
          PO Box 515723
          Los Angeles, CA 90051-5203
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1838                        Is the claim subject to offset?   ■ No ❑ Yes
 3.20     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $1,284.00
          Major Security Holdings, LLC                                     O Contingent
          dba Cunningham Security Systems                                  O Unliquidated
          10 Princes Point Rd
          Yarmouth, ME 04096-6127
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      4797                        Is the claim subject to offset?   ■ No ❑ Yes
 3.21     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $135.80
          Merchant Services                                                O Contingent
                                                                           O Unliquidated
          PO Box 639726
          Cincinnati, OH 45263-9726
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      2185                        Is the claim subject to offset?   ■ No ❑ Yes
 3.22     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $36.00
          Nathan McKee                                                     O Contingent
                                                                           O Unliquidated
          151 Lafayette Rd # 3
          Portsmouth, NH 03801-5447
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.23     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $9,680.91
          National Grid                                                    O Contingent
                                                                           O Unliquidated
          PO Box 11737
          Newark, NJ 07101-4737
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      4069                        Is the claim subject to offset?   ■ No ❑ Yes
 3.24     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $1,788.97
          NBCUniversal, LLC                                                O Contingent
          dba Universal Film Exchanges                                     O Unliquidated
          PO Box 848270
          Dallas, TX 75284-8270
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.25     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $2,531.16
          NCR Corporation                                                  O Contingent
                                                                           O Unliquidated
          PO Box 198755
          Atlanta, GA 30384-8755
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1317                        Is the claim subject to offset?   ■ No ❑ Yes



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 Debtor      Zyacorp Entertainment II, LLC                                                           Case number (if known)
             Name

 3.26     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $207.56
          NuCO2, LLC                                                       O Contingent
                                                                           O Unliquidated
          PO Box 417902
          Boston, MA 02241-7902
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      5982                        Is the claim subject to offset?   ■ No ❑ Yes
 3.27     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $874.03
          Performance Food Group, Inc                                      O Contingent
          dba VISTAR                                                       O Unliquidated
          PO Box 784866
          Philadelphia, PA 19178-4866
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      8744                        Is the claim subject to offset?   ■ No ❑ Yes
 3.28     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $408.52
          Portsmouth, City of                                              O Contingent
                                                                           O Unliquidated
          PO Box 6660
          Portsmouth, NH 03802-6660
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      0004                        Is the claim subject to offset?   ■ No ❑ Yes
 3.29     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $243.87
          Rainbow Media Enterprises, Inc.                                  O Contingent
          dba IFC Films                                                    O Unliquidated
          11 Penn Plz
          New York, NY 10001-2006
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.30     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $40.25
          Relativity Media, LLC                                            O Contingent
                                                                           O Unliquidated
          5900 Wilshire Blvd Ste 2060
          Los Angeles, CA 90036-5013
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.31     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $230.57
          Roadside Attractions, LLC                                        O Contingent
                                                                           O Unliquidated
          PO Box 511630
          Los Angeles, CA 90051-8185
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.32     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $5,216.61
          Strong Technical Services, Inc.                                  O Contingent
                                                                           O Unliquidated
          PO Box 310299
          Des Moines, IA 50331-0299
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      6335                        Is the claim subject to offset?   ■ No ❑ Yes



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 Debtor      Zyacorp Entertainment II, LLC                                                           Case number (if known)
             Name

 3.33     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $3,784.25
          Sturbridge, Town of                                              O Contingent
                                                                           O Unliquidated
          308 Main St
          Sturbridge, MA 01566
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.34     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $619.46
          Sysco Boston, LLC                                                O Contingent
                                                                           O Unliquidated
          99 Spring St
          Plympton, MA 02367-1701
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      8323                        Is the claim subject to offset?   ■ No ❑ Yes
 3.35     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $3,317.76
          Unitil                                                           O Contingent
                                                                           O Unliquidated
          PO Box 981077
          Boston, MA 02298-1077
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      2421                        Is the claim subject to offset?   ■ No ❑ Yes
 3.36     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $782.51
          Verizon                                                          O Contingent
                                                                           O Unliquidated
          PO Box 15189
          Albany, NY 12212-5189
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      0183                        Is the claim subject to offset?   ■ No ❑ Yes
 3.37     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $537.06
          Verizon Business                                                 O Contingent
                                                                           O Unliquidated
          PO Box 15043
          Albany, NY 12212-5043
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      3669                        Is the claim subject to offset?   ■ No ❑ Yes
 3.38     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $25,941.97
          Vista Entertainment Solutions (USA) Inc.                         O Contingent
                                                                           O Unliquidated
          335 N Maple Dr Ste 150
          Beverly Hills, CA 90210-5197
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes
 3.39     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $250.00
          Walt Disney Studios Motion Pictures                              O Contingent
                                                                           O Unliquidated
          PO Box 732554
          Dallas, TX 75373-2554
                                                                           O Disputed
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   ■ No ❑ Yes



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 Debtor       Zyacorp Entertainment II, LLC                                                          Case number (if known)
              Name

 3.40      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                $1,881.56
           Warner Brothers Distributing Inc.                               O Contingent
                                                                           O Unliquidated
           3585 Atlanta Ave                                                O Disputed
           Hapeville, GA 30354-1705
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?   ■ No ❑ Yes
 3.41      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.             $100,520.00
           Zyacorp, Inc.                                                   O Contingent
                                                                           O Unliquidated
           PO Box 16366                                                    O Disputed
           Hooksett, NH 03106-6366
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?   ■ No ❑ Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                          5a.        $                            0.00
 5b. Total claims from Part 2                                                                          5b.    +   $                    1,098,805.68
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                               5c.        $                       1,098,805.68




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          Fill in this information to identify the case:

 Debtor name        Zyacorp Entertainment II, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

 Case number (if known)
                                                                                                                                0   Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
     0 No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
     ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal   Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                     Program content
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                    ACJV Fathom
               List the contract number of                                          9110 E Nichols Ave Ste 200
                any government contract                                             Centennial, CO 80112-3451


 2.2.        State what the contract or                     Inventory
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                    Bottling Group, LLC
               List the contract number of                                          127 Pepsi Rd
                any government contract                                             Manchester, NH 03109-5319


 2.3.        State what the contract or                     VPF Guarantee
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                           CDF2 Holdings, LLC (Cinedigm)
                                                                                    c/o Cinedigm Cinema Corp
               List the contract number of                                          6255 W Sunset Blvd Ste 1025
                any government contract                                             Hollywood, CA 90028-7404


 2.4.        State what the contract or                     Inventory
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                    Coca-Cola Northern New England
               List the contract number of                                          1 Executive Park Dr Ste 330
                any government contract                                             Bedford, NH 03110-6913




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 4
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 Debtor 1 Zyacorp Entertainment II, LLC                                                     Case number (if known)
             First Name               Middle Name                Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.5.        State what the contract or                     program content
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Digital Cinema Distribtuion Coalition
               List the contract number of                                         1840 Century Park E Ste 440
                any government contract                                            Los Angeles, CA 90067-2124


 2.6.        State what the contract or                     ticketing
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Fandango
               List the contract number of                                         12200 W Olympic Blvd Ste 400
                any government contract                                            Los Angeles, CA 90064-1047


 2.7.        State what the contract or                     HVAC Maintenance
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Harry Grodsky & Co. Inc.
               List the contract number of                                         33 Shaws Ln
                any government contract                                            Springfield, MA 01104-3019


 2.8.        State what the contract or                     NOSS software
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Hollywood Software, Inc.
               List the contract number of                                         5000 Van Nuys Blvd Ste 300
                any government contract                                            Sherman Oaks, CA 91403-1784


 2.9.        State what the contract or                     gas delivery
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Matheson Tri*Gas
               List the contract number of                                         gsoucy@mathesongas.com
                any government contract




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 4
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 Debtor 1 Zyacorp Entertainment II, LLC                                                         Case number (if known)
             First Name               Middle Name                Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.10.       State what the contract or                     Hardware maintenance
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                        NCR Radiant
               List the contract number of                                              3925 Brookside Pkwy
                any government contract                                                 Alpharetta, GA 30022-4429


 2.11.       State what the contract or                     film distribution
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                        Paramount Pictures Corporation
               List the contract number of                                              555 Melrose Ave
                any government contract                                                 Los Angeles, CA 90001


 2.12.       State what the contract or                     on screen advertising
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                        Screenvision Exhibition, Inc.
               List the contract number of                                              1411 Broadway Fl 33
                any government contract                                                 New York, NY 10018-3423


 2.13.       State what the contract or                     NOC Service
             lease is for and the nature of                 Agreement
             the debtor's interest

                 State the term remaining
                                                                                        Strong Technical Services Inc.
               List the contract number of                                              4350 McKinley St
                any government contract                                                 Omaha, NE 68112-1643


 2.14.       State what the contract or                     film distribution
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                        Universal Film Exchange LLC
               List the contract number of                                              100 Universal City Plz Bldg 1220
                any government contract                                                 Universal City, CA 91608-1002




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                      Page 3 of 4
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 Debtor 1 Zyacorp Entertainment II, LLC                                                          Case number (if known)
             First Name               Middle Name                Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.15.       State what the contract or                     credit card processing
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                         Vantiv, LLC
               List the contract number of                                               8500 Governors Hill Dr
                any government contract                                                  Cincinnati, OH 45249-1384


 2.16.       State what the contract or                     POS software
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                         Vista Entertainment Solutions
               List the contract number of                                               6300 Wilshire Blvd Ste 940
                any government contract                                                  Los Angeles, CA 90048-5235


 2.17.       State what the contract or                     film distribution
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                         Walt Disney Studios
               List the contract number of                                               500 S Buena Vista St
                any government contract                                                  Burbank, CA 91521-0001


 2.18.       State what the contract or                     film distribution
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                                Warner Bros. Distributing INc.
                                                                                         Warner Bros Pictures Domestic
               List the contract number of                                               4000 Warner Blvd
                any government contract                                                  Burbank, CA 91522-0001




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           Fill in this information to identify the case:

 Debtor name        Zyacorp Entertainment II, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

 Case number (if known)
                                                                                                                             0    Check if this is an
                                                                                                                                  amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 0   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 ■   Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                      Name                            Check all schedules
                                                                                                                                   that apply:
     2.1     Zyacorp                          PO Box 16366                                         Blue Ridge Bank                 ■ D   2.1
             Entertainment I,                 Hooksett, NH 03106-6366                                                              0 E/F
             LLC                                                                                                                   0 G


     2.2     Zyacorp                          PO Box 16366                                         CDF2 Holdings, LLC              0 D
             Entertainment I,                 Hooksett, NH 03106                                   (Cinedigm)                      0 E/F
             LLC                                                                                                                   ■ G   2.1



     2.3     Zyacorp                          PO Box 16366                                         Fandango                        0 D
             Entertainment I,                 Hooksett, NH 03106                                                                   0 E/F
             LLC                                                                                                                   ■ G   2.7



     2.4     Zyacorp                          PO Box 16366                                         Matheson Tri*Gas                0 D
             Entertainment I,                 Hooksett, NH 03106                                                                   0 E/F
             LLC                                                                                                                   ■ G   2.8



     2.5     Zyacorp                          PO Box 16366                                         NCR Radiant                     0 D
             Entertainment I,                 Hooksett, NH 03106                                                                   0 E/F
             LLC                                                                                                                   ■ G   2.9



     2.6     Zyacorp                          PO Box 16366                                         Bottling Group, LLC             0 D
             Entertainment I,                 Hooksett, NH 03106                                                                   0 E/F
             LLC                                                                                                                   ■ G   2.10




Official Form 206H                                                       Schedule H: Your Codebtors                                            Page 1 of 2
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 Debtor      Zyacorp Entertainment II, LLC                                            Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                           Column 2: Creditor

              Name                            Mailing Address                              Name                         Check all schedules
                                                                                                                        that apply:
     2.7     Zyacorp                          PO Box 16366                                 Strong Technical             OD
             Entertainment I,                 Hooksett, NH 03106                           Services Inc.                O E/F
             LLC                                                                                                        ■G       2.12



     2.8     Zyacorp                          PO Box 16366                                 Paramount Pictures           OD
             Entertainment I,                 Hooksett, NH 03106                           Corporation                  O E/F
             LLC                                                                                                        ■G       2.15



     2.9     Zyacorp                          PO Box 16366                                 Warner Bros.                 OD
             Entertainment I,                 Hooksett, NH 03106                           Distributing INc.            O E/F
             LLC                                                                                                        ■G       2.17



     2.10 Zyacorp                             PO Box 16366                                 Coca-Cola Northern           OD
             Entertaintment I,                Hooksett, NH 03106                           New England                  O E/F
             LLC                                                                                                        ■G       2.2



     2.11 Zyacorpt                            PO Box 16366                                 Walt Disney Studios          OD
             Entertainmennt I,                Hooksett, NH 03106                                                        O E/F
             LLC                                                                                                        ■G       2.16



     2.12 Zyacorpt                            PO Box 16366                                 Vista Entertainment          OD
             Entertainment I,                 Hooksett, NH 03106                           Solutions                    O E/F
             LLC                                                                                                        ■G       2.13



     2.13 Zyacorpt                            PO Box 16366                                 Vantiv, LLC                  OD
             Entertainment I,                 Hooksett, NH 03106                                                        O E/F
             LLC                                                                                                        ■G       2.14



     2.14 Zyacorpt                            PO Box 16366                                 Universal Film               OD
             Entertainment I,                 Hooksett, NH 03106                           Exchange LLC                 O E/F
             LLC                                                                                                        ■G       2.18




Official Form 206H                                                 Schedule H: Your Codebtors                                     Page 2 of 2
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            Fill in this information to identify the case:

 Debtor name            Zyacorp Entertainment II, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

 Case number (if known)
                                                                                                                                                                                    0       Check if this is an
                                                                                                                                                                                            amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                        $                    0.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                           $            11,400.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                          $            11,400.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                        $        4,481,063.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                           $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                     +$        1,098,805.68


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                                $          5,579,868.68




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                      District of New Hampshire, Manchester Division
 In re        Zyacorp Entertainment II, LLC                                                                  Case No.
                                                                              Debtor(s)                      Chapter       7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                $                 10,000.00
              Prior to the filing of this statement I have received                                      $                 10,000.00
              Balance Due                                                                                $                       0.00

2.     The source of the compensation paid to me was:
              ■   Debtor           O     Other (specify):

3.     The source of compensation to be paid to me is:
              ■   Debtor           O     Other (specify):

4.       ■   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

         O   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                      CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 15, 2022                                                       /s/ Morgan C. Nighan
     Date                                                                    Morgan C. Nighan
                                                                             Signature of Attorney
                                                                             Nixon Peabody LLP

                                                                             900 Elm Street
                                                                             Manchester, NH 03060
                                                                             (603) 628-4000 Fax: (603) 628-4040
                                                                             mnighan@nixonpeabody.com
                                                                             Name of law firm




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                        IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE
---------------------------------------------------------------x
                                                               :
In re:                                                         :
                                                               : Chapter 7
ZYACORP ENTERTAINMENT II, LLC,                                 :
                                                               : Case No. 22-__________ (___)
                           Debtor.                             :
                                                               :
-------------------------------------------------------------- x

                            CORPORATE OWNERSHIP STATEMENT

           Pursuant to Rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure

Zyacorp Entertainment II, LLC (the “Debtor”) certifies that the Debtor is limited liability

company organized under the laws of the State of New Hampshire and its holders of equity

interests are as follows:

                                 Class A Common Interests
                     Name                         Number of Class A Common Interests
 Elaine M.S. Adam, as Trustee of the Mark T.                        90
 Adam 2000 Revocable Trust
 James V. Hatem, as Trustee of the Adam                             10
 Children’s 2006 Irrevocable Trust
                                     Preferred Interests
                     Name                                        Amount
 Elaine M.S. Adam, as Trustee of the Mark T. $3,237,547.84 plus an 8% per annum
 Adam 2000 Revocable Trust                     preferred return
 James V. Hatem, as Trustee of the Adam        $181,926.68 plus an 8% per annum preferred
 Children’s 2006 Irrevocable Trust             return


                       DECLARATION UNDER PENALTY OF PERJURY

           I, the undersigned signatory of the Debtor, declare under penalty of perjury that I have

reviewed the corporate ownership statement submitted herewith and that it is true and correct to

the best of my information and belief.

Dated: December 15, 2022                         _/s/Judith Labbe-Huard
                                                 Judith Labbe-Huard
                                                 Authorized Representative
4887-1644-5503.2
